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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

 IN RE:                                                                    CASE NO.: 17-18430-AJC
                                                                                     CHAPTER 13
 ARACELY DIEGO,
          Debtor.
 _________________________________/

                    MOTION FOR RELIEF FROM AUTOMATIC STAY

       Secured Creditor, REVERSE MORTGAGE SOLUTIONS, INC., by and through the

undersigned counsel, hereby moves this Court, pursuant to 11 U.S.C. § 362(d), for a modification

of the automatic stay provisions for cause, and, in support thereof, states the following:

   1. Debtor, Aracely Diego, filed a voluntary petition pursuant to Chapter 13 of the United

       States Bankruptcy Code on July 3, 2017.

   2. Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C. §

       1334, 11 U.S.C. § 362(d), Fed. R. Bankr. P. 4001(a), and all other applicable rules and

       statutes affecting the jurisdiction of the Bankruptcy Courts generally.

   3. Secured Creditor hereby waives the requirements of 11 U.S.C. § 362(e). The automatic

       stay of any act against property of the estate under § 362(a) shall continue until this Court

       orders or the stay is otherwise terminated by operation of law.

   4. On July 28, 2008, Aracely Diego executed and delivered a Promissory Note (“Note”) and

       a Reverse Mortgage (“Mortgage”) securing payment of the Note up to a maximum

       principal amount of $427,500.00 to World Alliance Financial Corp. The Mortgage was

       recorded on October 10, 2008 in Book 26606 at Page 3235 of the Public Records of

       Miami-Dade County, Florida. The loan was transferred to Secured Creditor. True and
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   accurate copies of documents establishing a perfected security interest and ability to

   enforce the terms of the Note are attached hereto as Composite Exhibit “A.” The

   documents include copies of the Note with any required indorsements, Recorded

   Mortgage, Assignment(s) of Mortgage, and any other applicable documentation

   supporting the right to seek a lift of the automatic stay and foreclose, if necessary.

5. The mortgage provides Secured Creditor a lien on the real property located at 12607 NW

   7th Lane, Miami, Florida 33182, in Miami-Dade County, and legally described as:

   LOT 1, IN BLOCK 10, OF LAKE POINTE, SECTION ONE, ACCORDING TO THE
   PLAT THEREOF, AS RECORDED IN PLAT BOOK 133, AT PAGE 19 OF THE
   PUBLIC RECORDS OF DADE COUNTY, FLORIDA.

6. The terms of the aforementioned Note and Mortgage have been in default, and remain in

   post-petition default, since October 18, 2017. The Note and Reverse Mortgage are in

   default due to a failure to maintain post-petition HOA dues in the amount of $150.00 and

   post-petition property insurance in the amount of $3,834.60. See Secured Creditor’s

   statement in regard to indebtedness and default, attached hereto and incorporated herein

   as Exhibit “B.”

7. As per the Indebtedness Worksheet attached hereto, Secured Creditor was due the

   pre-petition arrearage amount of $23,082.04 and the post-petition arrearage amount of

   $3,984.60. See Exhibit “C” attached hereto. The post-petition payment address is: 14405

   Walters Road, Suite 200, Houston, TX 77014.

8. As of May 30, 2018, Secured Creditor is due the total loan balance of $286,055.00.

9. The appraised value of the property is $210,000.00. See Exhibit “D” which is attached

   hereto and permissible as a property valuation under Fed. R. Evid. 803(8).
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10. Based upon the Debtor(s)’ Confirmed 3rd Amended Chapter 13 Plan (Docket No.54), the

   pre-petition arrears are treated inside the plan. There are no post-petition regular monthly

   payments due on the reverse mortgage, however the Debtors are required to maintain

   HOA dues and property taxes and insurance.

11. Secured Creditor’s security interest in the subject property is being significantly

   jeopardized by Debtor(s)’ failure to comply with the terms of the subject loan documents

   while Secured Creditor is prohibited from pursuing lawful remedies to protect such

   interest. Secured Creditor has no protection against the erosion of its collateral position

   and no other form of adequate protection is provided.

12. If Secured Creditor is not permitted to enforce its security interest in the collateral or be

   provided with adequate protection, it will suffer irreparable injury, loss, and damage.

13. Secured Creditor respectfully requests the Court grant it relief from the Automatic Stay in

   this cause pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the lack of

   adequate protection to Secured Creditor for its interest in the above stated collateral. The

   value of the collateral is insufficient in and of itself to provide adequate protection which

   the Bankruptcy Code requires to be provided to the Secured Creditor. Secured Creditor

   additionally seeks relief from the Automatic Stay pursuant to §362(d)(2) of the

   Bankruptcy Code, as the collateral is unnecessary to an effective reorganization of the

   Debtor’s assets.

14. Once the stay is terminated, the Debtor will have minimal motivation to insure, preserve,

   or protect the collateral; therefore, Secured Creditor requests that the Court waive the

   14-day stay period imposed by Fed.R.Bankr.P. 4001(a)(3).
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   15. Secured Creditor has incurred court costs and attorney’s fees in this proceeding and will

        incur additional fees, costs and expenses in foreclosing the Mortgage and in preserving

        and protecting the property, all of which additional sums are secured by the lien of the

        mortgage. Secured Creditor seeks an award of its reasonable attorneys’ fees and costs, or

        alternatively, leave to seek recovery of its reasonable attorneys’ fees and costs in any

        pending or subsequent foreclosure proceeding.

   16. A Proposed Order accompanies this Motion. See Exhibit “E” attached hereto.

        WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying

the automatic stay under 11 U.S.C. § 362(d) to permit Secured Creditor to take any and all steps

necessary to exercise any and all rights it may have in the collateral described herein, to gain

possession of said collateral, to waive the 14-day stay imposed by Fed.R.Bankr.P. 4001(a)(3), to

seek recovery of its reasonable attorneys’ fees and costs incurred in this proceeding, and to any

such further relief as this Honorable Court deems just and appropriate.

Date:

                                             ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                             Authorized Agent for Secured Creditor
                                             6409 Congress Ave., Suite 100
                                             Boca Raton, FL 33487
                                             Telephone: 561-241-6901
                                             Facsimile: 561-997-6909

                                             By: _/s/ Shreena Augustin___________
                                                 Shreena Augustin, Esquire
                                                 Email: saugustin@rasflaw.com
                                                 FL Bar Number: 0117598
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                               CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on June 14, 2018, I electronically filed the foregoing with

the Clerk of Court by using the CM/ECF system, and a true and correct copy has been served via

CM/ECF or United States Mail to the following parties:

ARACELY DIEGO
12607 NW 7 LANE
MIAMI, FL 33182

RICARDO CORONA, ESQ.
3899 NW 7 ST, SECOND FLOOR
MIAMI, FL 33126

NANCY K. NEIDICH
WWW.CH13MIAMI.COM
POB 279806
MIRAMAR, FL 33027

OFFICE OF THE US TRUSTEE
51 S.W. 1ST AVE.
SUITE 1204
MIAMI, FL 33130

                                           ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                           Authorized Agent for Secured Creditor
                                           6409 Congress Ave., Suite 100
                                           Boca Raton, FL 33487
                                           Telephone: 561-241-6901
                                           Facsimile: 561-997-6909

                                           By: _/s/ Shreena Augustin___________
                                               Shreena Augustin, Esquire
                                               Email: saugustin@rasflaw.com
                                               FL Bar Number: 0117598
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                Composite Exhibit “A”
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                          Exhibit “B”
 
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                          Exhibit “C”
 
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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

 IN RE:                                                                    CASE NO.: 17-18430-AJC
                                                                                     CHAPTER 13
 ARACELY DIEGO,
        Debtor.
 _________________________________/



                                INDEBTEDNESS WORKSHEET
Debt as of Petition Date

          Total pre-petition indebtedness of debtor(s) to Movant $275,899.77
               Amount of principal: $275,899.77
               Amount of interest: $0.00
               Amount of escrow (taxes and insurance): $0.00
               Amount of forced placed insurance expended by Movant: $0.00
               Amount of attorneys’ fees and costs billed to debtor(s) pre-petition: $0.00
               Amount of pre-petition late fees, if any, billed to debtor(s): $0.00
               Any additional pre-petition fees, charges or amounts charged to debtor account and
               not listed above:
          Contractual Interest Rate: 2.2950%




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                          Amount of Alleged Post-Petition Default
                                  (As of May 30, 2018)

          Date last payment was received: N/A Reverse Mortgage
          Alleged total number of payment due post-petition from filing of petition through
          due on 5/30/2018: N/A Reverse Mortgage
          All post-petition payments alleged to be in default: N/A Reverse Mortgage
 Alleged       Alleged   Amount Amount             Amount       Amount       Late Fee
 Amount        Amount    Received Applied          Applied      Applied to Charged (if
 Due Date      Due                   to            to           Escrow       any)
                                     Principal Interest
               $0.00       $0.00        $0.00         $0.00        $0.00         $0.00
               $0.00       $0.00        $0.00         $0.00        $0.00         $0.00
               $0.00       $0.00        $0.00         $0.00        $0.00         $0.00
 Total:        $0.00       $0.00         $0            $0          $0.00         $0.00
          Amount of movant’s attorney’s fees billed to debtor for the preparation and filing
          and prosecution of this motion: $850.00
          Amount of movant’s filing fee for this motion: $181.00
          Other attorney’s fees billed to debtor post-petition: $0.00
          Amount of post-petition inspection fees: $0.00
          Amount of movant’s post-petition appraisal broker’s price opinion: $0.00
          Amount of forced place insurance or insurance provided by the movant
          post-petition: $3,834.60
          Sum held in suspense by movant in connection with this contract, if applicable:
          (-$0.00)
          Amount of other post-petition advances or charges, for example, taxes, insurance
          incurred by debtor, etc. (itemize each charge): 10/18/2017 HOA Dues $150.00
          Total post-petition debt: $5,015.60




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                          Exhibit “D”
 
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Property Information
Folio:

Property Address: 12607 NW 7 LN




                     Roll Year 2018 Land, Building and Extra-Feature Details
Land Information

Land Use                                   Muni Zone                         PA Zone                     Unit Type                           Units           Calc Value



Building Information

           Building Number           Sub Area             Year Built                   Actual Sq.Ft.            Living Sq.Ft.           Adj Sq.Ft.           Calc Value



Extra Features

Description                                                                                 Year Built                                       Units           Calc Value


The Office of the Property Appraiser is continually editing and updating the tax roll. This website may not reflect the most current information on record. The Property
Appraiser and Miami-Dade County assumes no liability, see full disclaimer and User Agreement at http://www.miamidade.gov/info/disclaimer.asp

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Property Information
Folio

Property Address: 12607 NW 7 LN




                     Roll Year 2017 Land, Building and Extra-Feature Details
Land Information

Land Use                                   Muni Zone                         PA Zone                     Unit Type                           Units           Calc Value



Building Information

           Building Number           Sub Area             Year Built                   Actual Sq.Ft.            Living Sq.Ft.           Adj Sq.Ft.           Calc Value



Extra Features

Description                                                                                 Year Built                                       Units           Calc Value


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Property Information
Folio

Property Address: 12607 NW 7 LN Miami, FL 33182-2092




                     Roll Year 2016 Land, Building and Extra-Feature Details
Land Information

Land Use                                   Muni Zone                         PA Zone                     Unit Type                           Units           Calc Value



Building Information

           Building Number           Sub Area             Year Built                   Actual Sq.Ft.            Living Sq.Ft.           Adj Sq.Ft.           Calc Value



Extra Features

Description                                                                                 Year Built                                       Units           Calc Value


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Property Information
Folio:

Property Address: 12607 NW 7 LN



Full Legal Description
LAKE POINTE SEC 1
PB 133-19
LOT 1 BLK 10
LOT SIZE 1920 SQ FT
& INT IN COMMON AREAS




Sales Information
Previous Sale                    Price     OR Book-Page                                                Qualification Description
07/25/2008                        $10       26606-3234         Sales w hich are disqualified as a result of examination of the deed
04/01/2007                         $0       25553-3293         Sales w hich are disqualified as a result of examination of the deed
08/01/1999                         $0       18760-1571         Sales w hich are disqualified as a result of examination of the deed
04/01/1999                   $112,900       18612-4398         Sales w hich are qualified
08/01/1993                    $99,900       16024-2669         Sales w hich are qualified
11/01/1992                  $360,000        15744-3518         Deeds that include more than one parcel
12/01/1991                         $0       15329-6642         Sales w hich are disqualified as a result of examination of the deed


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 https://www.miamidade.gov/propertysearch/#/report/details                                                                                                          5/5
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                          Exhibit “(”
 
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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

 IN RE:                                                              CASE NO.: 17-18430-AJC
                                                                               CHAPTER 13
 Aracely Diego,
        Debtor.
 _________________________________/

             ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY
        THIS CASE came on for hearing on                                  ,    on    REVERSE
MORTGAGE SOLUTIONS, INC.’s (“Secured Creditor”) Motion for Relief from the Automatic
Stay (Docket No.     ). The Court heard argument of the Parties and has based its decision on the
record. Accordingly, it is:
        ORDERED:
   1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED.
   2. The automatic stay imposed by 11 U.S.C. § 362 is terminated as to the Secured

       Creditor’s interest in the following property located at 12607 NW 7th Lane, Miami FL
       33182 in Miami-Dade County, Florida, and legally described as:
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       LOT 1, IN BLOCK 10, OF LAKE POINT, SECTION ONE, ACCORDING
       TO THE PLAT THEREOF, AS RECORDED IN PLAT BOOK 133, AT
       PAGE 19 OF THE PUBLIC RECORDS OF MIAMI-DADE COUNTY,
       FLORIDA.
   3. The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured
       Creditor to exercise any and all in rem remedies against the property described above.
       Secured Creditor shall not seek an in personam judgment against Debtors.
   4. Secured Creditor is further granted relief in order to contact the Debtors by telephone or
       written correspondence in order to discuss the possibility of a forbearance agreement,
       loan modification, refinance agreement or loan workout/loss mitigation agreement.
   5. The Secured Creditor’s request to waive the 14-day stay period pursuant to Bankruptcy
       Rule 4001(a)(3) is granted.
   6. Attorneys’ fees in the amount of $850.00 and costs in the amount of $181.00 are awarded
       for the prosecution of this Motion for Relief from Stay, but are not recoverable from the
       Debtor(s) or the Debtor(s)’ Bankruptcy estate.
                                                 ###
Submitted by:
Shreena Augustin
Robertson, Anschutz & Schneid, PL
Attorney for Creditor
6409 Congress Ave., Suite 100
Boca Raton, FL 33487



Shreena Augustin, Esq., is directed to serve copies of this order on the parties listed and file a
certificate of service.

ARACELY DIEGO
12607 NW 7 LANE
MIAMI, FL 33182

RICARDO CORONA, ESQ.
3899 NW 7 ST, SECOND FLOOR
MIAMI, FL 33126
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